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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

                                                  )
ROBERT PENDERGRASS,                               )
ERIC KOECHLING, and                               )
JAMES PATTON,                                     )
                                                  )
     Plaintiffs,                                  )
                                                  )          Case No. 4:18-CV-01092-NCC
v.                                                )
                                                  )
BI-STATE UTILITIES CO.,                           )
                                                  )
     Defendant.                                   )

                               ORDER OF PARTIAL REMAND

        This matter is before the Court on the parties’ Joint Stipulation Regarding Motion to

Remand (Doc. 15).1 Plaintiffs filed this action for unpaid overtime wages in violation of the Fair

Labor Standards Act (“FLSA”) and Missouri wage and hour laws (Counts I and II), for Quantum

Meruit (Count III), for Unjust Enrichment (Count IV), and for Workers’ Compensation

Retaliation (Count V) against Defendant Bi-State Utilities Co. (“Bi-State”) on May 17, 2018, in

the Circuit Court of Saint Louis County, Missouri (Doc. 3). Counts I-IV are raised by all

Plaintiffs against Bi-State and Count V, the Workers’ Compensation claim, is brought by

Plaintiff Robert Pendergrass (“Pendergrass”) alone against Bi-State (Id.). On July 5, 2018, Bi-

State timely removed the case to this Court based on federal question jurisdiction (Doc. 1). On

July 10, 2018, Plaintiffs filed a Motion to Remand (Doc. 8) in which Plaintiffs assert that this

action must be remanded because Plaintiffs bring a worker’s compensation claim under Missouri

law, which is a “nonremovable claim” under 28 U.S.C. § 1445(c), and, therefore, the case may

not be removed to federal court even if the action presents a federal question jurisdiction (Doc.


        1
            The parties have consented to the jurisdiction of the undersigned United States
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9). Defendant responded and indicated that while the Missouri workmen’s compensation claim

is a “nonremovable claim” under § 1445(c), 28 U.S.C. § 1441(c)(2) provides that such a claim

shall be severed from the action and remanded to the state court from which the action was

removed (Doc. 10). Subsequently, the parties filed the current Stipulation requesting that the

Court enter an order whereby it retains original and supplemental jurisdiction over Plaintiffs’

Counts I-IV and severs and remands to the St. Louis County Circuit Court Count V, the claim for

Workers’ Compensation Retaliation (Doc. 15). Indeed, “[a] civil action in any State court

arising under the workmen’s compensation laws of such State may not be removed to any district

court of the United States.” 28 U.S.C. § 1445(c). Upon removal of an action including a claim

that has been nonremovable by statute, such is the case here, the district court shall sever from

the action the nonremovable claim and remand the claim to the state court from which the action

was removed. 28 U.S.C. § 1441(c)(2).

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff Robert Pendergrass’ claim for Workers’

Compensation Retaliation under Mo. Rev. Stat. § 287.780 (Count V) is SEVERED from this

action and REMANDED to the Circuit Court of Saint Louis County, Missouri.

       IT IS FURTHER ORDERED that, in light of the parties’ Stipulation and the Court’s

current ruling, Plaintiffs’ Motion to Remand (Doc. 8) is DENIED, as moot.

Dated this 7th day of August, 2018.

                                                         /s/ Noelle C. Collins
                                                      NOELLE C. COLLINS
                                                      UNITED STATES MAGISTRATE JUDGE




Magistrate Judge pursuant to Title 28 U.S.C. § 636(c) (Doc. 11).

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